Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 1 of 8




       EXHIBIT A
Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 2 of 8
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                           Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 3 of 8




         5.    PLACE IN FUNDS - In order to exonerate and indemnify the Surety, to place the Surety in immediately available funds, in a form and
               amount deemed acceptable in the Surety’s sole discretion, when requested to do so in order to meet and satisfy any claim, reserve established
               by Surety, or demand made upon the Surety under the Bonds (whether or not such claims or demands are contested by Indemnitors before
               the Surety shall be required to make payment under the Bonds). Indemnitors acknowledge that failure of Indemnitors to deposit such funds
               with Surety in accordance with this section in the amounts, in a form and at the time demanded by Surety shall cause irreparable harm for
               which Surety has no adequate remedy at law. Indemnitors agree that Surety shall be entitled to injunctive relief for specific performance of
               Indemnitors’ obligation to deposit funds in accordance with this section and expressly waives and relinquishes any claims or defenses to the
               contrary.
         6.    BOND LIABILITY CLOSURE - To immediately furnish Surety with satisfactory and conclusive evidence that there is no further liability
               on the Bonds upon receipt of written demand for same.
         7.    SETTLEMENT - That the Surety shall have the exclusive right in its sole discretion to adjust, defend, prosecute, settle, compromise or
               appeal any claim or litigation under such Bonds and that the voucher or other evidence showing payment by the Surety in good faith by
               reason of such Bonds or any renewal, extension or substitution thereof shall be conclusive and in any event prima facie evidence of such
               payment and the propriety thereof and the liability of the Indemnitors therefore to the Surety.
         8.    PLACE IN COLLATERAL - The Surety may, at any time and for any reason in its sole discretion, require the Indemnitors upon written
               notice to immediately procure the full release of the Bonds or deliver to the Surety collateral security in the form acceptable to the Surety.
               The collateral security will be in an amount equal to 100% of all undischarged liability under all Bonds, which liability shall be determined
               by Surety as of the date of written notice. Indemnitors acknowledge that failure to deposit such funds with Surety in accordance with this
               section shall cause irreparable harm for which Surety has no adequate remedy at law. Indemnitors agree that Surety shall be entitled to
               injunctive relief for specific performance of Indemnitors’ obligation to deposit funds in accordance with this section and expressly waive and
               relinquish any claims or defenses to the contrary. Collateral security to be provided to the Surety shall be sent to XL Specialty Insurance
               Company, 505 Eagleview Blvd., Suite 100, PO Box 636, Exton, PA 19341-0636, Attn: Collateral Manager.
         9.    ASSIGNMENT - In order to secure Indemnitors obligations to Surety under this Agreement, and any other indebtedness and liabilities of
               Indemnitors to Surety, of whatever nature, whether heretofore or hereafter incurred, Indemnitors hereby assign, transfer and convey to Surety
               and grants Surety a security interest in all right, title, interest and estate of Indemnitors in and to all property, whether tangible or intangible,
               wherever situated, now owned or hereafter acquired, including but not limited to: (a) all rights of Indemnitors in all contracts whether bonded,
               unbonded or bonded by another surety, and all money or property due or to become due Indemnitors arising out of or in any way relating to
               same, including, but not limited to, accounts receivable, progress payments, deferred payments, retained percentages, compensation for extra
               work and claims and the proceeds thereof; (b) all the right, title and interest of Indemnitors in and to all machinery, equipment, vehicles,
               materials, inventory, furniture, goods, and personal and fixture property; (c) all money, cash, cash equivalents, bank accounts, deposit
               accounts (checking or savings), certificates of deposit, securities, bonds, negotiable instruments, instruments (including promissory notes),
               letter of credit rights, and all other investment property; (d) all subcontracts/purchase orders entered into and materials purchased in
               connection with any bonded contract, including material which is in the process of manufacture, in storage, or in transit to project; (e) all
               licenses, patents, copyrights and trade secrets; (f) all claims, causes of action, actions or demands and the proceeds thereof which Indemnitors
               may have against any party, whether arising out of a bonded contract or not; (g) all money, claims or causes of actions due, claimed or
               receivable on insurance policies including life insurance proceeds, builder risk policies, fire policies and casualty policies; (h) all warehouse
               receipts, bills of lading, general intangibles and farm products; (i) all tax refunds or claims for tax refunds; (j) all limited partnership and
               general partnership interests. This Assignment shall be effective as of the date of this Agreement, but shall be enforceable only in the Event
               of Default. Indemnitors hereby authorize Surety, at its option, to prosecute or enforce said assigned rights in the name of Surety or
               Indemnitors and to endorse and to collect in the name of Indemnitors or payee any checks, drafts, warrants or other instruments made or
               issued in payment of any such assigned rights. Surety’s exercise of any of its rights as a secured creditor under this Agreement shall not be
               a waiver of any of Surety’s legal or equitable rights or remedies, including Surety’s rights of subrogation.
         10.   PERFECTION OF SECURITY INTEREST – This Agreement shall constitute a Security Agreement
               and a Financing Statement for the benefit of Surety in accordance with the Uniform Commercial Code and any similar statute and may also
               be used by Surety without in any way abrogating, restricting or limiting the rights of Surety. The rights granted by this Section 9 shall only
               be activated should the Surety determine, in its sole discretion, one or more of the following: (a) the Indemnitors financial capacity has been,
               or may be, impaired; or (b) there has been or may be some other change or event that adversely affects the Surety’s risk under the Bonds. In
               furtherance of the rights granted by this Section 9, Indemnitors hereby grant the Surety a security interest in all properties, assets, rights,
               proceeds and products. For the purposes of recording this Agreement or schedule, a photocopy or electronic image of this Agreement
               acknowledged before a Notary Public as being a true copy hereof shall be regarded as an original.
         11.   TERMINATION – This Agreement may be terminated as to any Indemnitors upon twenty (20) days
               written notice sent by registered mail to the Surety at its home office at XL Specialty Insurance Company, 505 Eagleview Boulevard, Suite
               100, Exton, PA, 19341, Attn: Commercial Bond. The notice shall not relieve the terminating Indemnitor from its obligations for: (i) any
               Bond executed prior to the Termination Date; or (ii) any Bond executed after the Termination Date which is a renewal or extension of a Bond
               issued prior to the Termination Date.
         12.   CHOICE OF LAW – This Agreement shall be governed by the laws of the State of New York, without resort to or application of any
               conflicts of law doctrine or principles of law.
         13.   COUNTERPARTS AND ENTIRE AGREEMENT - This Agreement may be executed in one or more counterparts, all of which taken
               together shall constitute and be considered one and the same agreement. Delivery by means of electronic medium of an executed
               counterpart in an unalterable electronic format (including Portable Document Format (.pdf) and DocuSign format) will be deemed delivery
               of an original and shall bind such party. This Agreement constitutes the entire agreement of the parties regarding the subject matter

    General Agreement of Indemnity (12-24-2020)                                                                                              2
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                          Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 4 of 8




              hereof. This Agreement may not be changed or modified orally. No change or modification shall be effective unless made by written
              endorsement executed by the parties to form a part hereof.
          14. EVENTS OF DEFAULT – As used in this Agreement, any one or more of the following shall constitute an event of default (“Default”):
              (a) any notice of default by an obligee on any Bonds;
              (b) any actual breach or abandonment of any Bonds;
              (c) any improper diversion of Bond funds or the Indemnitors assets to the detriment of the bonded obligations;
              (d) the Indemnitors shall become a party in any insolvency, receivership, liquidation, or bankruptcy;
              (e) the Indemnitors makes representations to the Surety by or on behalf of any of the Indemnitors that prove to have been misleading or
              materially false when made;
              (f) the Indemnitors fail to provide collateral in response to a proper request made by the Surety; and/or
              (g) the Indemnitors breach or failure to perform any other provision of this Agreement.
          15. SEVERABILITY - If any provision of this Agreement is deemed void or unenforceable under any law
              governing its construction or enforcement, this Agreement shall not be voided or terminated thereby, but shall be enforced with the same
              effect as though such provision were omitted.


    IN WITNESS HEREOF, the Undersigned who are partnerships, corporations, or unincorporated associates, have caused the Agreement to be fully
    executed by their duly authorized representatives, the day and year first above written. The Undersigned expressly waive any notice of acceptance of
    this Agreement by Surety.

      Attest or Witness                                                  Indemnitor Company: Bridgelink Engineering, LLC


      X                                                                  X
      Name: Cody Bissett                                                 Name: Cole W. Johnson
      Title: Chief Financial Officer                                     Title: Chairman
                                                                         Address: 777 Main Street, Ste 2800
                                                                         Fort Worth, TX, 76102
                                                                         City, State, ZIP


      Attest or Witness                                                  Indemnitor Company: Bridgelink Commodities, LLC


      X                                                                  X
      Name: Cody Bissett                                                 Name: Cole W. Johnson
      Title: Chief Financial Officer                                     Title: Chairman
                                                                         Address: 777 Main Street, Ste 2800
                                                                         Fort Worth, TX, 76102
                                                                         City, State, ZIP




    General Agreement of Indemnity (12-24-2020)                                                                                    3
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                          Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 5 of 8




      Attest or Witness                                      Indemnitor Company: Bridgelink Investments, LLC


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP


      Attest or Witness                                      Indemnitor Company: Bridgelink Development, LLC


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP


      Attest or Witness                                      Indemnitor Company: Bridgelink Renewable Energy
                                                             Investments, LLC


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP




    General Agreement of Indemnity (12-24-2020)                                                                4
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                          Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 6 of 8




      Attest or Witness                                      Indemnitor Company: Intermountain Electric Service,
                                                             Inc.


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP


      Attest or Witness                                      Indemnitor Company:      Bighorn     Investments   and
                                                             Properties, LLC


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP


      Attest or Witness                                      Indemnitor Company: Bighorn Construction and
                                                             Reclamation, LLC


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson
      Title: Chief Financial Officer                         Title: Chairman
                                                             Address: 777 Main Street, Ste 2800
                                                             Fort Worth, TX, 76102
                                                             City, State, ZIP




    General Agreement of Indemnity (12-24-2020)                                                                 5
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                         Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 7 of 8




      ATTEST OR WITNESS                                      INDIVIDUAL: Cole W. Johnson


      X                                                      X
      Name: Cody Bissett                                     Name: Cole W. Johnson


                                                             Address: 1301 Old Tin Top Road
                                                             Weatehrford, TX, 76087
                                                             City, State, ZIP


      ATTEST OR WITNESS                                      INDIVIDUAL: Cord H. Johnson


      X                                                      X
      Name: Cody Bissett                                     Name: Cord H. Johnson


                                                             Address: 127 Trace Drive
                                                             Weatherford, TX, 76087
                                                             City, State, ZIP


      ATTEST OR WITNESS                                      INDIVIDUAL: Cassie J. Hamilton


      X                                                      X
      Name: Cody Bissett                                     Name: Cassie J. Hamilton


                                                             Address: 127 Trace Drive
                                                             Weatherford, TX, 76087
                                                             City, State, ZIP




    General Agreement of Indemnity (12-24-2020)                                               6
DocuSign Envelope ID: B5E7669A-FF67-4F22-A152-B5F6FB0B1F85
                         Case 1:21-cv-03068-BAH Document 40-2 Filed 07/26/22 Page 8 of 8




    IMPORTANT: Attach certified copy of Resolution authorizing execution of this instrument by
    Corporation or Limited Liability Company member.




    General Agreement of Indemnity (12-24-2020)                                            7
